         Case 24-10595-amc
 Fill in this information to identify the case:
                                                  Doc         Filed 08/13/24 Entered 08/13/24 16:51:13                        Desc Main
                                                              Document      Page 1 of 3
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 'HEWRU           Kelvin Alvin Lashley
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Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. 6HH%DQNUXSWF\5XOH
                               US Bank Trust National Association, Not In Its Individual
                               Capacity But Solely As Owner Trustee For VRMTG Asset Trust
 Name of creditor:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                    11
                                                                                                  Court claim no LINQRZQ BBBBBBBBBBBBBBBBBB

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 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
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 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                                Dates incurred                                   Amount

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          Case 24-10595-amc                         Doc            Filed 08/13/24 Entered 08/13/24 16:51:13                             Desc Main
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 Part 2:     Sign Here


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  Check the appropriate box.

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  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



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              /s/ Danielle Boyle-Ebersole, Esquire
                  6LJQDWXUH
                                                                                                      08/13/2024
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                  Danielle Boyle-Ebersole                                                             Attorney
 3ULQW           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    7LWOH BBBBBBBBBBBBBBBBBBBBBBBBBBB
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 &RPSDQ\
                  Hladik, Onorato & Federman, LLP
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                  298 Wissahickon Avenue
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                   215          855 9521                                                              dboyle-ebersole@hoflawgroup.com
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2IILFLDO)RUP6                                  Notice of Postpetition Mortgage Fees, Expenses, and Charges                                 SDJH2
Case 24-10595-amc           Doc      Filed 08/13/24 Entered 08/13/24 16:51:13               Desc Main
                                     Document      Page 3 of 3


                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                    Bankruptcy No. 24-10595-AMC
         Kelvin Alvin Lashley                             Chapter 13

               Debtor
US Bank Trust National Association, Not In Its
Individual Capacity But Solely As Owner Trustee
For VRMTG Asset Trust
              Movant

          vs.
Kelvin Alvin Lashley,
              Debtor/Respondent

                                      CERTIFICATE OF SERVICE

   I, Danielle Boyle-Ebersole, Esquire, hereby certify that on 08/13/2024, I have served a copy of this
Notice and all attachments to the following by U.S. Mail, postage pre paid and/or via filing with the US
Bankruptcy Court’s CM ECF system.

  Michael A. Cibik, Esquire                           Kelvin Alvin Lashley
  Attorney for Debtors                                4 Donneybrook Lane
  Via ECF                                             Collegeville, PA 19426
                                                      Debtors
  Kenneth E. West, Esquire                            Via First Class Mail
  Chapter 13 Trustee
  Via ECF


                                                 /s/ Danielle Boyle-Ebersole, Esquire
                                                 Danielle Boyle-Ebersole, Esquire
                                                 HLADIK, ONORATO & FEDERMAN, LLP
                                                 298 Wissahickon Avenue
                                                 North Wales, PA 19454
                                                 (215) 855-9521
                                                 dboyle-ebersole@hoflawgroup.com
